             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

                                CIVIL NO. 3:02CV66
                                   (3:97CR22-9)


IVEY WALKER,                          )
                                      )
                   Petitioner,        )
                                      )
             Vs.                      )           ORDER
                                      )
UNITED STATES OF AMERICA,             )
                                      )
                   Respondent.        )
                                       )


      THIS MATTER is before the Court on the Petitioner's notice of appeal

filed November 9, 2005, which the Court construes as a request for a

certificate of appealability.

      An appeal may not be taken to the court of appeals from the denial of a

motion pursuant to 28 U.S.C. § 22551 unless a certificate of appealability has

been issued. 28 U.S.C. § 2253(c)(1)(B). Such a certificate may not issue


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       The Petitioner’s motion has been only partially adjudicated. See
Memorandum and Order, filed September 8, 2005, at 9 (dismissing
Petitioner’s claims that the Court lacked the jurisdiction to try, convict and
impose sentence, and that the criminal case remains open). Government
has been ordered to respond to the remaining claims by November 20, 2005.


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unless the applicant has made a substantial showing of the denial of a

constitutional right. 28 U.S.C. § 2253(c)(2). The Petitioner has not made

such a showing.

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion for a

certificate of appealability is hereby DENIED.

      The Petitioner is advised that he may renew this request to the Fourth

Circuit Court of Appeals within 30 days from entry of this Order.




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                  Signed: November 14, 2005




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